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                UNITED STATES DISTRICT COURT                        1        FEDERAL STIPULATIONS
                EASTERN DISTRICT OF NEW YORK                        2
                ------------------------------------------X         3            IT IS HEREBY STIPULATED AND AGREED
                MARIA SUAREZ,
                                      Plaintiff,                    4   by and between the counsel for the respective
                            -against         19-CV-02721-GRB-SIL    5   parties hereto, that the filing, sealing, and
                                                                    6   certification of the within deposition shall
                SOUTHERN GLAZER'S WINE & SPIRITS OF                 7   be and the same are hereby waived;
                NEW YORK, LLC,
                                                                    8
                                     Defendant.
                ------------------------------------------X         9            IT IS FURTHER STIPULATED AND AGREED
                                   October 3, 2022                 10   that all objections, except as to the
                                   200 Broadhollow Road            11    form of the question, shall be reserved
                                   Melville, New York
                                   10:30 a.m.                      12   to the times of the trial.
                                                                   13
                       EXAMINATION BEFORE TRIAL of a               14            IT IS FURTHER STIPULATED AND AGREED
                Defendant, Southern Glazer's Wine & Spirit, by     15   that the within deposition may be signed before
                Kevin Randall, pursuant to Notice, held at the
                                                                   16   any Notary Public with the same force and
                above-mentioned time and place, before Camille
                Dandola, a Notary Public of the State of New       17   effect as if signed and sworn to before this
                York.                                              18   court.
                                                                   19
                                                                   20
                                                                   21               *    *    *      *
                                                                   22
                                                                   23
                                                                   24
                                                                   25


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           1   A P P E A R A N C E S:                               1    K E V I N R A N D A L L, the witness herein,
           2                                                        2    having been first duly sworn by a Notary Public
           3   MOSER LAW FIRM, PC
                                                                    3    in and of the State of New York, was examined
               Attorneys for Plaintiff
           4      5 East Main Street                                4    and testified as follows:
                  Huntington, New York 11743                        5             THE REPORTER: Please state your
           5                                                        6         name and address for the record.
               BY: STEVEN MOSER, ESQ.                               7             THE WITNESS: Kevin Randall, 345
           6
                                                                    8         Underhill Boulevard, Syosset, New York.
           7
               CONSTANGY, BROOKS, SMITH & PROPHETE, LLP
                                                                    9     EXAMINATION BY
           8   Attorneys for Defendant                             10     MR. MOSER:
                  175 Pearl Street, Suite C-402                    11        Q. Good morning, Mr. Randall. My name is
           9      Brooklyn, New York 11201                         12    Steve Moser. I am an attorney. I represent Maria
          10   BY: ANJANETTE CABRERA, ESQ.                         13    Suarez with regard to certain claims that she has
          11
          12
                                                                   14    against Southern Glazer's Wines and Spirits.
          13                                                       15             Have we ever met before today?
          14                                                       16        A. No.
          15                                                       17        Q. Do you understand that the oath that
          16                                                       18    you just took to be the same oath to tell the truth
          17
          18
                                                                   19    in court in front of the judge and the jury?
          19                                                       20        A. I do.
          20                                                       21        Q. Have you ever testified under oath
          21                                                       22    before?
          22                                                       23        A. In arbitration cases.
          23
                                                                   24        Q. How many arbitration cases did you
          24
          25                                                       25    testify in, briefly?


                                                                                               1 (Pages 1 to 4)
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           1               K. RANDALL                                1               K. RANDALL
           2       A. Possibly three.                                2       Q. Was Wine Merchants acquired by
           3       Q. What was the nature of those                   3   Southern?
           4   arbitrations?                                         4       A. No.
           5       A. There was one with work rules in the           5       Q. When you left Wine Merchants what was
           6   warehouse between clerical and the warehouse work.    6   your job title?
           7   I've been around 17 years. I can't remember the       7       A. At Wine Merchants I was the head of the
           8   other ones but I have been in a couple.               8   purchasing department in Wine Merchants.
           9       Q. Were those all union arbitrations?             9       Q. Why did you leave Wine Merchants?
          10       A. I'd say, yes.                                 10       A. Southern Wine and Spirits opened up the
          11       Q. Which union did they involve?                 11   building and so they were looking for experienced
          12       A. Local 1 here in Metro New York. I came        12   help and so I applied for the job.
          13   here from Syracuse originally. Up there I didn't     13       Q. Into what position were you originally
          14   have any.                                            14   hired?
          15       Q. Are you currently employed by Southern        15       A. It as the head of purchasing.
          16   Glazer Wine and Spirits?                             16       Q. How long were you head of purchasing
          17       A. Yes.                                          17   for?
          18       Q. In the past 10 years has the corporate        18       A. About a year and half.
          19   name changed?                                        19       Q. What was your next job title?
          20       A. Yes. Went to Southern Wine and Spirits        20       A. Director of operations.
          21   to Southern Glazers Wine and Spirits.                21       Q. Were you the director of operations for
          22       Q. Why did it change?                            22   the specific facility or region?
          23       A. We had a merger between our company and       23       A. Upstate New York.
          24   another company based in Texas.                      24       Q. What did that encompass, what
          25       Q. For the purposes of today's deposition        25   geographic area?


                                                      Page 6                                                   Page 8
           1              K. RANDALL                                 1               K. RANDALL
           2   when I say Southern I am going to mean Southern       2       A. Everything north of the Tappan Zee
           3   Glazer Wine and Spirits or its predecessor,           3   Bridge.
           4   Southern Wine and Spirits. Do you understand that?    4       Q. Who did you report to when you were the
           5      A. I understand that.                              5   director of operations?
           6      Q. How long have you been employed by              6       A. The GM in Syracuse, Dan Sisto.
           7   Southern?                                             7       Q. For how long were you the director of
           8      A. Since 2005, it would be 17 years.               8   operations for Upstate New York?
           9      Q. How old are you?                                9       A. For the remaining eight years that I
          10      A. I'm 64.                                        10   was there.
          11      Q. When are you scheduled to retire, if           11       Q. Why did you leave Upstate New York?
          12   ever?                                                12       A. I got promoted to the vice-president of
          13      A. I'm planning on at 68, three more              13   operations in Metro New York.
          14   years.                                               14       Q. For Southern?
          15      Q. What's your highest level of education?        15       A. Southern, yes.
          16      A. I have a bachelor's degree in                  16       Q. What geographic area does Metro New
          17   accounting from Le Moyne College in Syracuse.        17   York cover?
          18      Q. Who were you employed for before you           18       A. Tappan Zee Bridge down to Manhattan,
          19   worked for Southern?                                 19   Long Island.
          20      A. A company called Wine Merchants. The           20       Q. How many Southern facilities are
          21   same industry. Wine Merchants that was in            21   located south of the Tappan Zee in New York?
          22   Syracuse.                                            22       A. One.
          23      Q. How long were you employed by Wine             23       Q. Where is that located?
          24   Merchants for?                                       24       A. Syosset, New York.
          25      A. Ten years.                                     25       Q. How big is the Syosset, New York


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            1               K. RANDALL                             1               K. RANDALL
            2   warehouse?                                         2        question.
            3       A. It is 375,000 square feet.                  3            MR. MOSER: Mark it for a ruling.
            4       Q. How much inventory is stored at any         4        Q. Have you ever been accused of sexual
            5   given time in terms of value in this warehouse?    5   harassment in the workplace?
            6       A. Two billion.                                6        A. No.
            7       Q. Can you describe your role as a VP of       7        Q. Have you ever been accused of
            8   operations in Metro New York?                      8   discrimination in the workplace?
            9       A. I oversee all the departments under the     9        A. No.
           10   operations umbrella. It would be delivery,        10        Q. Have you ever been a party to any prior
           11   warehouse, it would be facilities, customer       11   litigation?
           12   service.                                          12        A. No.
           13       Q. How many people work under you?            13        Q. Have you ever sued or been sued by
           14       A. Six hundred.                               14   anyone?
           15       Q. Do you like working at Southern?           15        A. No.
           16       A. Love it.                                   16        Q. Where were you born?
           17       Q. Who is your direct report?                 17        A. Watertown, New York.
           18       A. Right now Roy Kohn, K-O-H-N.               18        Q. Have you ever been convicted of a
           19       Q. Who is Roy Kohn?                           19   crime?
           20       A. He is the regional vice-president,         20        A. No.
           21   northeast region.                                 21        Q. Are you familiar with an individual by
           22       Q. How long have you known Mr. Kohn?          22   the name of Maria Suarez?
           23       A. Fifteen years.                             23        A. I am.
           24       Q. Are you friends with Mr. Kohn?             24        Q. Who is Maria Suarez?
           25       A. No. Not friends, business.                 25        A. Maria worked under my organization


                                                   Page 10                                                   Page 12
            1               K. RANDALL                             1                K. RANDALL
            2       Q. Business associates?                        2   chart when I came to Metro New York in 2013, in the
            3       A. Yes.                                        3   inventory capacity.
            4       Q. What's your total salary?                   4       Q. Let's go back just for a moment. Did
            5           MS. CABRERA: Objection. Why is             5   you do anything to prepare for your deposition here
            6       that relevant?                                 6   today?
            7           MR. MOSER: If a witness is                 7       A. I spoke with counsel.
            8       testifying for an employer and is              8       Q. I don't want to know what you spoke
            9       earning a half-million dollars a year          9   about. You spoke with the counsel, correct?
           10       in a job, I think that's relevant. I          10       A. Yes.
           11       don't know how much he is earning but I       11       Q. Did you review documents to prepare for
           12       think it's relevant.                          12   today?
           13           MS. CABRERA: I mean I don't want          13       A. There was a couple.
           14       to start the deposition this way. I           14       Q. What documents did you review?
           15       don't see how that is at all relevant         15       A. There were some emails I believe.
           16       to this case or anything in this case.        16       Q. Besides reviewing emails, did you
           17       If you can, let's just put an pin in          17   review any other documents to prepare for your
           18       it. I am not going to tell him to             18   testimony here today?
           19       answer for the entire day. I am               19       A. No.
           20       directing him at this point not to            20       Q. Are you under the influence of any
           21       answer that question.                         21   narcotics or medication which will affect your
           22           He is not a named individual in           22   ability to testify truthfully and accurately?
           23       this case. I don't understand why his         23       A. No.
           24       salary is at all relevant. I am               24       Q. Can you think of any reason why you
           25       directing you not to answer that              25   would not be able to testify truthfully and


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           1               K. RANDALL                                 1                K. RANDALL
           2   accurately today?                                      2       A. Approximate date.
           3       A. No.                                             3       Q. I am not asking you to be a dictionary,
           4           MS. CABRERA: Off the record.                   4   that's fine.
           5           (Whereupon, an off-the-record                  5       A. I am going to say 2018.
           6        discussion was held.)                             6       Q. If I said April 6th of 2018 does that
           7       Q. Back in 2013 when you came from Upstate         7   refresh your recollection, does that sound right?
           8   New York to the Syosset facility was the warehouse     8       A. April 6th is the correct date, if it is
           9   the same size?                                         9   2018, yes.
          10       A. Yes.                                           10       Q. When you were promoted to work at the
          11       Q. Was the total value of the inventory           11   Syosset facility were there any litigations pending
          12   stored at that facility approximately the same in     12   against Southern?
          13   2013?                                                 13       A. Not that I was made aware of.
          14       A. It was slightly less. We picked up a           14       Q. At any point in time after you began
          15   line called De Angelo. A higher level of spirits.     15   your work as the VP of operations in the Metro New
          16   I would say it was half a billion less.               16   York did you become aware of any litigation by
          17       Q. It was approximately 1.5 billion in            17   employees of Southern against Southern?
          18   2015, correct?                                        18       A. I was aware of one.
          19       A. Yes.                                           19       Q. Which one were you aware of?
          20       Q. Have you ever been trained in human            20       A. I don't know if I have her name right.
          21   resources? Have you ever received any training in     21   Maybe it was Josie.
          22   human resources either by Southern Wine and Spirits   22       Q. If I said Josie Sajous?
          23   or educationally outside of Southern?                 23       A. That could be her last name. I do not
          24       A. In Syracuse human resources reported to        24   know her last name.
          25   me under my umbrella. When I came to Metro there      25       Q. Were there any litigations pending when


                                                     Page 14                                                    Page 16
           1                K. RANDALL                                1               K. RANDALL
           2   was a separate division for that. I was in charge      2   you were transferred?
           3   of human resources, no formal training.                3       A. Not that I know of.
           4        Q. Did you ever receive any formal                4       Q. Do you know an individual by the name
           5   training from Southern Wine and Spirits regarding      5   of Tatiana Herdocia?
           6   sexual harassment in discrimination in the             6       A. She is an employee.
           7   workplace?                                             7       Q. Has she ever sued Southern?
           8        A. Yes.                                           8       A. I believe she has.
           9        Q. When did you receive that formal               9       Q. On how many occasions?
          10   training?                                             10       A. Two.
          11        A. We do this all the time at Southern           11       Q. What did she sue Southern for?
          12   Glazer's University online. I do not recall the       12       A. I don't get involved in those at that
          13   last time that I had it. It has been numerous         13   level. I believe it was to do with in equity in
          14   times.                                                14   pay between warehouse and clerical.
          15        Q. Had you had your last session in the          15       Q. Did that have anything to do with sex
          16   past five years?                                      16   discrimination?
          17        A. Yes.                                          17       A. No.
          18        Q. Is that something that is voluntary or        18       Q. Do you know an individual by the name
          19   mandatory?                                            19   of Ena Scott?
          20        A. I look at it as voluntary. They post          20       A. I do.
          21   it but I believe New York State now has something     21       Q. Did she also sue Southern?
          22   where you have to have it done yearly.                22       A. I believe, yes.
          23        Q. Until what date was Maria Suarez              23       Q. On how many occasions?
          24   employed by Southern; you can give me an              24       A. I am going to say two.
          25   approximate date?                                     25       Q. What was the nature of her claims


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           1              K. RANDALL                                 1               K. RANDALL
           2   against Southern?                                     2   well?
           3       A. Very similar. The difference between           3       A. Yes.
           4   clerical work and warehouse work.                     4       Q. And there's a warehouse?
           5       Q. Is there still a union at Southern in          5       A. Yes, next to it.
           6   Syosset?                                              6       Q. When I said employees, I meant any
           7       A. Yes.                                           7   employees, including direct staff. In total what
           8       Q. Was there a union in place when you            8   percentage of your time was spent in meetings with
           9   came from Upstate New York?                           9   employees, either lower level employees or your
          10       A. Yes.                                          10   direct staff?
          11       Q. Was that Local 1?                             11       A. Thirty-five percent.
          12       A. Local 1.                                      12       Q. Who did you have regular meetings with
          13       Q. Under the terms of the collective             13   in terms of your direct staff?
          14   bargaining unit between Local 1 and Southern were    14       A. Names?
          15   there two classifications of employees, the          15       Q. Yes.
          16   warehouse and clerical?                              16       A. John Wilkinson was our director of
          17       A. That's correct.                               17   operations. Robert Weiser was our manager of
          18       Q. Is that the same today that collective        18   delivery, that was the two people that I dealt with
          19   bargaining unit as the two classifications of        19   from that building as well as my boss and
          20   employees, warehouse and clerical?                   20   accounting people on 313.
          21       A. Yes.                                          21       Q. When you say "that building" you are
          22       Q. How many hours per week did you work          22   referring to the warehouse?
          23   when you first came from Upstate New York to         23       A. At 345, yes.
          24   Syosset?                                             24       Q. Who from accounting did you meet with?
          25       A. In my position I'm going to say 60 to         25       A. Usually it would be Adam Pinacowski.


                                                    Page 18                                                    Page 20
           1               K. RANDALL                                1               K. RANDALL
           2   70 hours per week.                                    2   He is the assistant controller, as well as his
           3       Q. Did you have weekly meetings when you          3   staff, which I do not know all the names. It's
           4   came from upstate?                                    4   been awhile. We would sit down once a month review
           5       A. Yes, I have staff meetings. Yes, I'd           5   the inventory.
           6   have to.                                              6       Q. Did you have a one-on-one meeting with
           7       Q. If you can just give me a general              7   Maria Suarez?
           8   breakdown of how you spent your time as VP of         8       A. Yes.
           9   operations when you came from Upstate New York?       9       Q. On how many occasions?
          10       A. In charge of the budgets. I have to do        10       A. Maybe six.
          11   monetary decisions every day. I am in charge of      11       Q. Were those meetings requested by you,
          12   the delivery department, which is the teamsters. I   12   her or someone else?
          13   have to deal with that group of folks and I also     13       A. I don't think she requested. The one
          14   have to oversee the Local 1 employees in that part   14   that I am referring to was the one that I know
          15   of the business.                                     15   about was when we had a reorganize.
          16       Q. What percentage of the week was spent         16       Q. When you say "reorganize" what are you
          17   in meetings with employees?                          17   referring to?
          18       A. With employees, 10 percent.                   18       A. When we went into a WMI warehouse
          19       Q. Other than meetings with employees you        19   management system, I believe it was 2017 and we
          20   met -- did you meet with other individuals?          20   brought in computers and a scanner gun to do
          21       A. My direct staff. I was not in the same        21   inventory versus a cycle counts monthly and I
          22   building at 345 when I came down. I was stationed    22   brought that technology with me from Upstate. We
          23   in 313. I was not in the same building as the        23   had to have some different jobs aligned. We kind
          24   warehouse and delivery folks.                        24   of reorganized how the inventory control team would
          25       Q. There is offices in 313 Underhill as          25   look.


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           1               K. RANDALL                                 1               K. RANDALL
           2       Q. Was there any resistance to that change         2       A. The obvious reason is to be fair.
           3   from the union?                                        3       Q. Would Southern have these policies in
           4       A. No.                                             4   place in your opinion even if there were not laws
           5       Q. If fully implemented would the                  5   that required it to?
           6   transition to WMI reduce the time that it took to      6       A. Southern is a family business, family
           7   do the inventory?                                      7   owned and, yes, they would go.
           8       A. I wouldn't say it was to reduce the             8       Q. Does Southern have a policy to protect
           9   time. We had to do it each day versus doing it         9   an individuals who report discrimination or
          10   physical at the end of the month.                     10   harassment in the workplace?
          11       Q. As a result of implementing the WMI            11       A. Yes, we do.
          12   would it reduce the total number of hours needed to   12       Q. What is that policy?
          13   be worked at the facility?                            13       A. You cannot discriminate against someone
          14       A. I suppose that would be right. We              14   who has stepped forward, I guess, in a case, there
          15   wouldn't be physically counting every month with      15   is no discrimination in that.
          16   the whole warehouse. It was not part of their         16       Q. Why is that policy in place?
          17   position to do. Everyone counted when we did the      17       A. I believe so people can be open and
          18   physical counts.                                      18   honest about what they have seen or what they have
          19       Q. Did you ever do an analysis of the             19   believed they have seen.
          20   labor savings that would be seen from implementing    20       Q. Is there any reason why this is
          21   WMI?                                                  21   important to protect individuals who report
          22       A. No.                                            22   discrimination or harassment in the workplace?
          23       Q. Can you give me an estimate of what            23       A. Just their job security.
          24   percentage in terms of man hours that would be        24       Q. To protect the individuals who want to
          25   saved by implementation of WMI?                       25   be open and honest with the employer?


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           1                K. RANDALL                                1                K. RANDALL
           2       A. It'd be a guess that we count every two         2       A. Or who have been asked to testify in a
           3   months, we do a physical count, 50 people work on a    3   case.
           4   Saturday counting.                                     4       Q. What is the process for reporting
           5       Q. Did total payroll expenses go down as a         5   alleged discrimination at Southern?
           6   result of implementing WMI?                            6       A. We have a group named that you can
           7       A. No. And the learning curve was very             7   report discriminations to, it's human resources,
           8   much difficult.                                        8   obviously the first step in that direction, or the
           9       Q. Does Southern have an                           9   vice president of the regional, and I suppose even
          10   anti-discrimination policy when it comes to           10   though they haven't come to me, I suppose they
          11   employees?                                            11   could come to me as well.
          12       A. Yes.                                           12       Q. How long has Southern's policy against
          13       Q. What is that policy?                           13   discrimination as you earlier described been in
          14       A. We cannot discriminate, many different         14   effect?
          15   factors from race to color, to religion to sex, et    15       A. I can't think of when it wasn't. I
          16   cetera, et cetera.                                    16   believe since I started with the company.
          17       Q. Why does Southern have that policy             17       Q. The previous policy that you describe
          18   against discrimination on the basis of race,          18   against retaliation against people who step forward
          19   religion, sex, national origin and race?              19   how long has that been in effect?
          20       A. I suppose to make a fair playing field         20       A. I believe it's the same amount of time.
          21   for everyone. Most companies have it.                 21       Q. Seventeen years, ever since you have
          22       Q. Is there any other reason why it's             22   been there, correct?
          23   important not to discriminate against someone's       23       A. Yes.
          24   age, race, religion, disability or the color of       24       Q. Now does the discrimination -- does the
          25   their skin?                                           25   anti-retaliation policy also protect someone who


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           1                K. RANDALL                               1                K. RANDALL
           2   turns out to be wrong? Let me give you an example.    2   formally or informally?
           3   Let's say you have a woman that claims that she is    3       A. I believe that informally the only one
           4   doing the same job as a man. They were hired          4   that I can really know is Josie's one, that you
           5   precisely the same date and they are doing exactly    5   mentioned earlier. I was not involved in that case
           6   the same things and exactly the same location and     6   but I did hear about it.
           7   she reports to human resources she's paid $20 an      7       Q. Who did you hear of that from?
           8   hour and her co-worker is being paid $30 an hour      8       A. Possibly the director of operations,
           9   and he's a man. How would that be investigated?       9   maybe John Wilkinson. I was not involved in that
          10       A. I believe that it would have to go to         10   at all.
          11   human resources is the first step of the claim.      11       Q. Do you recall what John Wilkinson told
          12       Q. And then what would happen?                   12   you about that?
          13       A. They would have to do an investigation        13       A. No, it was going on. I don't believe I
          14   as to the claim to see if there is any validity as   14   heard another name. It may be started before I got
          15   to what has been claimed.                            15   there. I don't know.
          16       Q. Let's say Southern found out that the         16       Q. Other than that claim of discrimination
          17   woman was wrong. Review of payroll records           17   by Josie are you aware of any other claim of
          18   indicates that the man was paid, not paid $30 an     18   discrimination that were made by any employee of
          19   hour but was paid same as the woman, $20 an hour,    19   Southern Wine and Sprits during your tenure?
          20   would she still be protected by the                  20       A. I would think that the two other cases
          21   anti-retaliation policy?                             21   that is we spoke about earlier was not
          22       A. I believe so, yes.                            22   discrimination but more classification. So I would
          23       Q. Why?                                          23   not call those discrimination cases.
          24       A. I believe the person was being honest         24       Q. What was the nature of Josie's
          25   in their claim and they felt that they were          25   discrimination claim?


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           1                 K. RANDALL                              1               K. RANDALL
           2   correct, it needed to be investigated. Sometimes      2       A. I have no idea. I was not privy to any
           3   claims only need to be investigated. They may not     3   of that.
           4   always be valid.                                      4       Q. Who was Josie's supervisor?
           5        Q. Is there any other reason why it's            5       A. Maria Suarez.
           6   important that anti-retaliation policy protects       6       Q. Who was Ena Scott's supervisor?
           7   people who turn out to be wrong?                      7       A. Maria Suarez.
           8        A. Again, it's job security.                     8       Q. Who was Tatiana Herdocia's immediate
           9        Q. Is that to encourage people to actually       9   supervisor?
          10   come forward and report discrimination?              10       A. Maria Suarez.
          11        A. Sure it is.                                  11       Q. Is it fair to say that the three women
          12        Q. Is it fair to say that without people        12   who reported to Maria Suarez filed claims against
          13   coming forward to report discrimination sometimes    13   Southern?
          14   it's difficult to know if anything is going on?      14       A. That would be a fact.
          15        A. Human resources needs to know this.          15       Q. Did they also commence federal lawsuits
          16        Q. Correct?                                     16   against Southern?
          17        A. Yes.                                         17       A. I believe it was federal lawsuits.
          18        Q. Is it fair to say that human resources       18       Q. In all of your time at Southern Wine
          19   sometimes will only get to know something that is    19   and Spirits have you ever had, other than in this
          20   going on if someone reports something in terms of    20   particular instance, three employees who reported
          21   discrimination?                                      21   to an individual supervisor file federal lawsuits?
          22        A. Yes.                                         22       A. I can't say as I have.
          23        Q. In your 17 years at Southern Glazer's        23       Q. Do you have anymore specific
          24   Wine and Spirits are you aware of any                24   understanding about what the lawsuits were
          25   discrimination complaints that were made either      25   claiming? You mentioned that there were two


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           1               K. RANDALL                                 1               K. RANDALL
           2   lawsuits regarding classification. Do you have         2   classified position?
           3   anymore understanding about what those lawsuits        3       A. No.
           4   were claiming?                                         4       Q. Can you explain why not?
           5       A. No. I was involved in the Ena Scott             5       A. I am just going to guess because it's
           6   one as it went to arbitration. That's how I know       6   an evening position, overnight, and no one has
           7   about that one. That's the classification between      7   applied for it.
           8   clerical and warehouse.                                8       Q. Is it your job, as the director of
           9       Q. Did you testify at that arbitration?            9   operations, to make sure that there's no
          10       A. I did.                                         10   discrimination against women?
          11       Q. Was that under oath?                           11       A. Yes.
          12       A. It was, yes.                                   12       Q. What have you done to make sure that
          13       Q. Was Ena Scott claiming that women were         13   there's no discrimination against women in the
          14   not allowed to have the warehouse classification?     14   warehouse classified position?
          15       A. No.                                            15       A. When we use temporary help, we have had
          16       Q. When you were transferred from Upstate         16   women come to work for us in the evenings and
          17   New York to Syosset how many individuals covered by   17   hoping that they want to say with us but normally
          18   the collective bargaining agreement had the           18   they don't want to stay in the job. If they
          19   clerical classification?                              19   applied for it we definitely would consider them.
          20       A. In Metro New York?                             20       Q. Are you aware that Ena Scott wanted to
          21       Q. Yes.                                           21   be classified as warehouse?
          22       A. Fifty.                                         22       A. Absolutely.
          23       Q. How many individuals at that time had          23       Q. Are you aware that Tatiana Herdocia
          24   the warehouse classification?                         24   also wanted to be classified as warehouse?
          25       A. It was 150.                                    25       A. Tatiana just recently did apply for a


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           1                K. RANDALL                                1                K. RANDALL
           2       Q. At the time that you came to Syosset            2   night warehouse position.
           3   from Upstate New York did any female employee hold     3       Q. Was she hired?
           4   a warehouse classified job?                            4       A. She withdraw her name.
           5       A. No.                                             5       Q. Was she hired?
           6       Q. Today does any female employee hold a           6       A. No.
           7   warehouse classified job in Syosset?                   7       Q. Do you know why she withdraw her name?
           8       A. I want to speak to my -- since that             8       A. I believe it was the hours. It is days
           9   time we have opened another DC underneath Local 1,     9   to nights.
          10   in Linden, New Jersey, that they help produce cases   10       Q. Why would she have to work nights?
          11   to feed to our customers. We do it in Jersey and      11       A. Union Local 1 is all by seniority. Any
          12   bring it over. In that location we have               12   position that you start with is on the evening
          13   approximately seven female employees working in the   13   shift. Only seniority raises you up to the day
          14   warehouse. They do not have different                 14   position.
          15   classifications in that contract.                     15       Q. So any female that would be hired into
          16            MR. MOSER: Can you read back the             16   a new position would have to work nights?
          17        question.                                        17            MS. CABRERA: Objection. You can
          18            (Whereupon, the referred to                  18        answer that.
          19        question was read.)                              19       A. If you want a warehouse position, then,
          20       A. No.                                            20   yes, that's the position that we post for and
          21       Q. How many warehousemen are there?               21   that's the position that's open.
          22       A. There are 130.                                 22       Q. Do you think that that policy of
          23       Q. Since you have taken over                      23   forcing a woman to work at night would have a
          24   responsibility for operations at the Syosset          24   discriminatory affect on women?
          25   facility has any female been hired into a warehouse   25            MS. CABRERA: Objection. It


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           1                K. RANDALL                                1                 K. RANDALL
           2        completely mischaracterizes what he               2        A. I have no idea if any did. I don't
           3        said. He said anyone who applies for              3   believe anyone did.
           4        the job, not just women. He's saying              4        Q. What's that belief based upon?
           5        forcing women to work at night, that's            5        A. Just what I'm told or what I know. I
           6        not at all what he said.                          6   do not do the hiring.
           7       Q. Do you think that the policy requiring          7        Q. Are you responsible for managing the
           8   new hires to work at night would have a                8   individuals who do the hiring?
           9   discriminatory impact on women?                        9        A. Absolutely.
          10       A. No, I do not.                                  10        Q. Who are those individuals?
          11       Q. Do you believe that women feel                 11        A. At the time it was John Wilkinson, who
          12   comfortable walking around or being out at night as   12   was the director of operations for many years and
          13   much as a man does?                                   13   now we have the warehouse management staff at night
          14       A. I believe they would in our warehouse,         14   that does the hiring.
          15   we have security.                                     15        Q. Who is that?
          16       Q. Other than what you've mentioned have          16        A. John Pilus would be his name, our night
          17   you done anything else with regard to the warehouse   17   manager.
          18   classification to make sure that there is no          18        Q. Who told you that no women applied for
          19   discrimination against women?                         19   the warehouse classified position?
          20       A. Besides monitoring what goes on in the         20        A. No one told me. I just don't know of
          21   building.                                             21   any.
          22       Q. Are you aware that there were many             22        Q. It could be that women applied, it
          23   women who applied for the warehouse classified        23   could be that some women applied, you don't know;
          24   position?                                             24   is that fair to say?
          25       A. No.                                            25        A. I have no idea, yes.


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           1               K. RANDALL                                 1               K. RANDALL
           2       Q. Do you know why any of those women were         2       Q. As the VP of operations are you the
           3   not hired?                                             3   senior person in charge of making sure there is no
           4       A. I do not know who they are.                     4   discrimination in your workforce?
           5       Q. Do you know why they were not hired?            5       A. Yes.
           6       A. No.                                             6           (Whereupon, a short recess was held.)
           7           MS. CABRERA: Objection. He said                7       Q. You mentioned a meeting that you had
           8        he didn't know they applied. If he                8   with Maria Suarez when you transitioned to WMI,
           9        doesn't know they applied how would he            9   correct?
          10        know why they were not hired?                    10       A. Yes.
          11       Q. In your opinion is there any                   11       Q. Do you recall any other meetings that
          12   discrimination against women in terms of the          12   you had with Maria Suarez besides that particular
          13   warehouse classified positions at Southern?           13   meeting?
          14       A. No.                                            14       A. Not one-on-one, no. Most of everything
          15       Q. How many individuals have been hired           15   that I can recall, again, it's been a few years,
          16   into the warehouse classification since you became    16   would have been with her direct manager as well.
          17   the director of operations in Syosset?                17       Q. That would have been John Wilkinson?
          18       A. A guess would be 50.                           18       A. Yes.
          19       Q. Each one of those individuals hired was        19       Q. When you met with John Wilkinson were
          20   a man, correct?                                       20   you meeting with John Wilkinson and Maria or just
          21       A. In the warehouse positions.                    21   John Wilkinson?
          22       Q. Correct?                                       22       A. I met with John Wilkinson almost
          23       A. Yes.                                           23   weekly. I am sure it was John and she could have
          24       Q. How many women applied for those               24   been there.
          25   warehouse positions?                                  25       Q. Do you recall any meeting attended by


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            1               K. RANDALL                                 1                K. RANDALL
            2   you, John Wilkinson, and Maria Suarez?                 2       Q. So you don't know whether she counted
            3       A. I don't recall any but would have to            3   inventory before WMI was implemented.
            4   say positively we would have had to have had that      4       A. She should have taken their count and
            5   meeting.                                               5   analyzed them. I don't know. I was not in the
            6       Q. Do you recall anything that was                 6   same building for a while.
            7   discussed at any of the meetings that you had where    7       Q. She was the inventory control manager
            8   John Wilkinson and Maria Suarez were present?          8   before the WMI was implemented?
            9       A. Before WMI or after WMI?                        9       A. Yes.
           10       Q. Before or after.                               10       Q. How important is that job?
           11       A. Before she was always in the inventory         11       A. It's our finances. It's how we book
           12   control meetings with the accounting and John would   12   our inventory each month. That goes into the
           13   be there as well. We were all in the same monthly     13   bottom line.
           14   recap meeting.                                        14       Q. How much inventory was Maria
           15       Q. So before WMI was implemented there was        15   Responsible for keeping a count of when she was the
           16   monthly inventory control meetings?                   16   inventory control manager?
           17       A. With accounting.                               17       A. It was 1.5 billion.
           18       Q. How many people attending that?                18       Q. That would be important that she did
           19       A. I'd say about eight to 10.                     19   her job correctly as inventory control manager?
           20       Q. So you attended, John Wilkinson and who        20       A. Yes.
           21   were the other attendees?                             21       Q. If she made a mistake as inventory
           22       A. Maria was there and there would be             22   control manager how could that negatively effect
           23   someone from accounting, I don't know, it probably    23   Souther's business?
           24   they changed now but Adam Pienczykoswki, he is the    24       A. If you book inventory out we couldn't
           25   assistant controller. He would be in those            25   sell it. If we booked it out it would show as a


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            1               K. RANDALL                                 1               K. RANDALL
            2   meetings as well before we booked them. It's all       2   loss on the statements. Her job was to present it
            3   about financial events.                                3   to the accounting department of her accountings for
            4       Q. Who was the most junior, let's say,             4   the month so they could approve the booking of the
            5   individual who attended those meetings?                5   inventory. That was what the meetings were about.
            6       A. Probably someone in accounting.                 6       Q. The way that she did her job as
            7       Q. Why did Maria attend those meetings?            7   inventory control manager had an affect on the
            8       A. It was her responsibility about her             8   financials of Southern Wines and Spirits, correct?
            9   team to analyze the results, come up with              9       A. Yes.
           10   suggestions, what numbers to book and not book.       10       Q. Did you consider her trustworthy?
           11       Q. Do you have an understanding of what           11       A. Yes.
           12   Maria Suarez' job duties were before WMI was          12       Q. Did she do her job well when she was
           13   implemented?                                          13   inventory control manager?
           14       A. Yes.                                           14       A. Yes.
           15       Q. What were those job duties?                    15       Q. How long was she the inventory control
           16       A. Job duties were to count the inventory,        16   manager?
           17   maintain inventory in the correct locations, and at   17       A. She was there when I got there. So
           18   the end of the month to balance out the inventory     18   2013, I don't know when she started doing it, from
           19   to the best of her ability.                           19   2013 to 2018 or '17.
           20       Q. Did she do the physical counting               20       Q. Is there a way to measure the accuracy
           21   herself or did her staff do that?                     21   of inventory?
           22       A. Her staff should have done that. Did           22       A. Just track records month to month. If
           23   she do that? I don't know, but her staff were the     23   some cases are gone and next month they show back
           24   ones assigned. They are union clerical staff          24   up again, you are really looking for trends.
           25   accountant.                                           25       Q. Are there any metrics in place that


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            1                K. RANDALL                                1               K. RANDALL
            2   could be used to determine how well Maria was doing    2   maybe they didn't understand her point of what her
            3   her job when she was inventory control manager?        3   job was compared to what they wanted. I personally
            4        A. I don't think there is metrics. There          4   never saw it.
            5   is just profit and loss of the inventory.              5        Q. Would you describe Maria as quiet?
            6        Q. When she was inventory control manager         6        A. Yes, she be quiet but passionate.
            7   were there any attempted thefts of inventory?          7        Q. But when she thought she was right
            8        A. There was one before my time. Someone          8   about something would she voice it?
            9   had done some theft but I don't know the name or       9        A. Yes.
           10   what happened.                                        10        Q. How old was Marie when you transferred
           11        Q. Did she have any role in uncovering           11   from Upstate New York?
           12   that?                                                 12        A. I have no idea. Do you know guessing a
           13        A. I have no idea.                               13   women's age.
           14        Q. In your 17 years at Southern have you         14        Q. She was at least in her 40's, right?
           15   ever seen any discrimination against women?           15        A. I would guess that you are probably
           16        A. No.                                           16   correct in her 40's.
           17        Q. Who made the decision to implement WMI        17        Q. What's her primary language?
           18   on Long Island?                                       18        A. English.
           19        A. It was my decision. We were the last          19        Q. Do you know if she was born here or
           20   Southern site to implement WMI. I had it in           20   born in another country?
           21   upstate for three or four years previously and it     21        A. No.
           22   was, corporate would like to have that implemented.   22        Q. Does she speak with an accent?
           23   I was put to the task of implementing it in Syosset   23        A. Not one that you couldn't understand.
           24   was the last DC to do so.                             24   I think she does speak Spanish, but, no.
           25        Q. You mentioned there was a learning            25        Q. Does she speak with an accent though?


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            1               K. RANDALL                                 1               K. RANDALL
            2   curve for WMI, correct?                                2       A. Maybe a slight one.
            3       A. Yes.                                            3       Q. What is her background in terms of her
            4       Q. How long -- did you implement WMI in            4   education, are you aware of that?
            5   any other facility?                                    5       A. No.
            6       A. Upstate New York.                               6       Q. Do you know whether or not she has any
            7       Q. How long was that learning curve in             7   background in accounting?
            8   Upstate New York would you say?                        8       A. I do not know. She was hired before I
            9       A. Six months probably. There's a                  9   got there.
           10   learning curve from everyone from the employees all   10       Q. Does Southern have a job description
           11   the way up through the ranks. So to do so I would     11   for every single employee that works in Syosset?
           12   bring in help from other sites who have WMI, to       12       A. Employees, probably not an employee,
           13   teach it.                                             13   but for ever job assignment there should be a job
           14       Q. Do you have any other understanding of         14   description.
           15   what Maria's job was when she was inventory control   15       Q. So each employee would have a job
           16   manager other than what you have already testified    16   description which describes what that employee does
           17   to?                                                   17   even if the employee's name is not on the job
           18       A. She would oversee the counters on a            18   description; is that fair to say?
           19   daily basis, assigning their counts or their          19       A. We also list any other job otherwise
           20   workload.                                             20   required, yes.
           21       Q. Did Maria, when I say "Maria," I mean          21       Q. What is the purpose of the job
           22   Maria Suarez, did Maria have a reputation for being   22   description?
           23   difficult?                                            23       A. Give the employee indication of what
           24       A. No. It could be a reputation on                24   they're responsible for.
           25   difficulty in the meetings with the accounting,       25       Q. There any other reasons for having the


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            1               K. RANDALL                                 1               K. RANDALL
            2   job description?                                       2   evaluation conducted?
            3       A. Not that I can think of. Everybody is           3       A. Yearly.
            4   responsible for what they are or what they go to or    4       Q. Why are they done yearly?
            5   apply for a position. They know what they are          5       A. Annual review of the employees, the
            6   applying for.                                          6   work performance and future goals to be set.
            7       Q. Is there someone at Southern who let's          7       Q. Is that pursuant to a company-wide
            8   say sweeps the floors?                                 8   policy?
            9       A. Porters.                                        9       A. Yes.
           10       Q. Does the porter's job description let          10       Q. But the union people did not get it.
           11   them know that they have to sweep the floors?         11       A. Just non-union, yes.
           12       A. Yes.                                           12       Q. Is there any reason why Southern would
           13       Q. Now assume that there is a porter,             13   not perform an annual performance appraisal of an
           14   could the porter's supervisors ask him to drive a     14   employee?
           15   truck to make the delivery?                           15       A. No.
           16       A. No.                                            16       Q. If you found out that a supervisor was
           17       Q. Why not?                                       17   not conducting annual performance evaluations of
           18       A. They wouldn't be qualified for the             18   his staff what would you do?
           19   position, first, and, second of all, it wouldn't be   19       A. A manager?
           20   under their scope of employment.                      20       Q. Yes.
           21       Q. Could a foreperson ever be disciplined         21       A. HR would inform me that it wasn't
           22   for refusing to drive a truck?                        22   completed, to which time that I would address with
           23       A. No.                                            23   that manager that they have to do it. It is
           24       Q. Why not?                                       24   required.
           25       A. It is not in their job description and         25       Q. Why?


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            1                K. RANDALL                                1               K. RANDALL
            2   I am sure all discipline goes through the union so     2       A. It's part of our annual review that
            3   I don't see that how we can discipline someone like    3   also reflects their pay increases.
            4   that.                                                  4       Q. Is part of the purpose of the
            5       Q. So is it fair to say that in order to           5   performance review to let the employee know if they
            6   discipline someone for not doing something that it     6   were doing a good job?
            7   would have to be part of the thing that they were      7       A. That's the point of it.
            8   not doing had to be part of their job description?     8       Q. It's also important to let them know
            9       A. Sure.                                           9   where they are not doing a so good job so they can
           10       Q. Let say that you wanted a porter to            10   improve; is that fair to say?
           11   drive a truck, what would be the process? Would       11       A. Yes.
           12   they have to apply for a driver's position?           12       Q. They are reviewed based upon their
           13       A. Yes and get a CDL license to drive it.         13   success in fulfilling what is in their job
           14       Q. Once he gets a CDL license, establishes        14   description?
           15   the qualification, and he is hired, then he can be    15       A. In their role with the company, yes.
           16   expected to drive a truck, correct?                   16       Q. In their role -- is their role with the
           17       A. Yes.                                           17   company described in the job description?
           18       Q. If he doesn't drive a truck or doesn't         18       A. Yes.
           19   drive a truck well he can be disciplined for it; is   19           (Whereupon, a short recess was held.)
           20   that fair to say?                                     20       Q. Who conducts the performance evaluation
           21       A. True.                                          21   of a given employee?
           22       Q. Are there performance evaluations at           22       A. The manager.
           23   Southern?                                             23       Q. So for Maria Suarez who would that be?
           24       A. For everyone but union employees.              24       A. It would have been John Wilkinson.
           25       Q. How frequently are these performance           25       Q. If you found out that an employee was


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            1               K. RANDALL                                 1               K. RANDALL
            2   being reprimanded for not doing something that         2   plaintiff was selected for termination as part of
            3   wasn't in their job description what would you do?     3   the state wide layoff program?
            4       A. I would investigate it to see what the          4            I would like you to read the response
            5   claim was.                                             5   to yourself and let me know when you are done.
            6       Q. For example if you had the porter and           6       A. Done. I don't know.
            7   you found out that the porter was being disciplined    7       Q. How many employees did Southern have in
            8   for not driving a truck, what would you do?            8   the State of New York in April of 2018 in total?
            9       A. I would stop and discipline him,                9       A. I am going to have to guess at 1500
           10   obviously.                                            10   but. . .
           11       Q. In your mind would that discipline be          11       Q. Is that your best approximation?
           12   valid?                                                12       A. It is including Upstate if you ask for
           13       A. No.                                            13   New York State.
           14       Q. In your mind would that supervisor have        14       Q. Correct.
           15   the authority to terminate that employee based upon   15       A. That's 1500 including sales.
           16   not doing things that weren't in the employee's job   16       Q. In April of 2018 did you have knowledge
           17   description?                                          17   of Southern profitability in the state of New York?
           18       A. No, they couldn't anyway without HR            18       A. I only know metro numbers. They don't
           19   approval.                                             19   share the New York State.
           20       Q. So before letting someone go you have          20       Q. How many of the 26 that were selected
           21   HR's approval, correct, and who else has to approve   21   were from metro?
           22   it?                                                   22       A. I only know the ones that I have asked
           23       A. HR is the top.                                 23   to do which I believe was five. I don't know in
           24       Q. Does HR have to get the clearance from         24   any other departments.
           25   in-house local counsels?                              25       Q. You laid off five as part of the


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            1                K. RANDALL                                1                 K. RANDALL
            2        A. My guess is, yes, they have to get the         2   streamlining?
            3   clearance. Not that I am HR.                           3       A. Cost reduction at the time.
            4        Q. Would Elizabeth Toohig know that she           4       Q. Correct?
            5   needed to get clearance from inhouse counsel to        5       A. Yes.
            6   authorize a termination?                               6       Q. In Metro New York in April of 2018 how
            7        A. I would assume that she would. It              7   many employees were there?
            8   always depends on how flagrant the howl is but. . .    8       A. Say there is a thousand total
            9            (Whereupon, Plaintiff's Exhibit 1             9   employees.
           10        was marked for identification.)                  10       Q. What was the total cost savings to
           11        Q. Have you ever seen this document,             11   Metro New York from this reduction in force?
           12   Plaintiff's Exhibit 1 for identification, marked      12       A. I do not know the total number.
           13   for identification.                                   13       Q. In early 2018 how profitable was Metro?
           14        A. No.                                           14       A. I am sure there was a profit, that's
           15        Q. I'd like you to take some time to flip        15   why we're in business. What that total is for New
           16   through it.                                           16   York?
           17        A. (Witness perusing document.) I did            17       Q. I am not talking about the entire State
           18   sign it.                                              18   of New York, for the Syosset facility, Metro New
           19        Q. To your knowledge were all of the             19   York. What was Southern's profit from that
           20   responses to these interrogatories true and correct   20   facility, let's say, in 2018?
           21   at the time that you signed this document?            21       A. I don't get those numbers. I get the
           22        A. Yes. I didn't recognize that document         22   operation numbers on the spending. I am not
           23   on the face but I recognize all the questions.        23   responsible for the profit of the company for
           24        Q. Let's go to interrogatory number 4.           24   Metro.
           25            Is says here: State every reason why         25       Q. Do you have any knowledge what the


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            1               K. RANDALL                                1                K. RANDALL
            2   profit was from operations in Metro New York          2   Syosset facility; is that fair to say?
            3   Southern in 2018?                                     3       A. Yes.
            4       A. No, I only do spending.                        4       Q. How many times per year do you turnover
            5       Q. What was the total spending of Metro           5   that inventory completely?
            6   New York in 2018?                                     6       A. Four times a year.
            7       A. $80,000, $90,000, I'd have to guess, 12        7       Q. So it's fare to say that the total
            8   million, 53 million for the delivery, another 10,     8   gross sales of wine and liquor out of the Syosset
            9   63 million, I am guessing 90 million all in.          9   facility is approximately six billion dollars a
           10       Q. What percentage of the 90 million was         10   year?
           11   due to payroll? How much of the 90 million was       11            MS. CABRERA: Objection.
           12   payroll expenses?                                    12            MR. MOSER: I'm just looking for
           13       A. I don't have those numbers in front of        13        an approximation.
           14   me.                                                  14            MS. CABRERA: That's a huge
           15       Q. What's your bet approximation?                15        approximation guess that you are asking
           16       A. Around 35 percent in payroll.                 16        him. I told you several times that he
           17       Q. So it would be approximately 32 million       17        doesn't know a number and I know he is
           18   give or take?                                        18        being helpful in trying to give it to you.
           19       A. Yes.                                          19       A. Accounting handles all of that stuff to
           20       Q. These are best guesstimates.                  20   corporate. I don't get involved in the sales or
           21           Who began the statewide layoff program?      21   income.
           22       A. I don't know. I am guessing it came           22       Q. In any case, in your best
           23   down from corporate and I got my part of the         23   approximation, inventory turns over approximately
           24   assignment which was the five. I don't know who      24   four times a year?
           25   the other 20-something people were.                  25       A. Yes.


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            1                 K. RANDALL                              1                K. RANDALL
            2        Q. Did laying off the five have any              2       Q. When inventory turns over it means that
            3   material affect on the finances of the operations     3   that product is either sold or wasted, correct?
            4   of the Metro New York warehouse?                      4       A. One or the other.
            5        A. I'm sure it did. To what degree it was        5       Q. What is the percentage of waste or
            6   part of a project that they gave me to do. I          6   loss?
            7   didn't take it lightly. It was a terrible thing to    7            MS. CABRERA: Objection. Per year
            8   have to do. What that netted out, I do not know.      8        in total?
            9        Q. For Metro New York was already                9            MR. MOSER: Per year.
           10   profitable in 2018, correct?                         10       A. Two to three million, the loss
           11        A. Should be, yes.                              11   breakage.
           12        Q. Laying off the five would make it more       12       Q. Aside from being given instructions to
           13   profitable; is that correct?                         13   layoff five individuals did you receive any other
           14        A. Yes.                                         14   instructions in terms of cost savings?
           15        Q. Is Southern a privately owned company?       15       A. Just the program to eliminate
           16        A. Yes.                                         16   positions.
           17        Q. Who owns it?                                 17       Q. Other than Maria Suarez do you know the
           18        A. The Chaplin family.                          18   name of any other individuals who were terminated
           19        Q. What are the gross sales of the              19   as part of the statewide layoff program at Syosset?
           20   Southern on a national basis?                        20       A. I know all of them.
           21        A. Again, somebody has that information.        21       Q. Who were they?
           22   It's a lot, yes, we sell a lot of booze, yeah. But   22       A. Larry Callahan, Larry Lapenzino, don't
           23   they don't share that kind of stuff at my level.     23   ask me to spell it. Sal, forgive me for the last
           24        Q. Can you approximate -- you know how          24   name -- I do not know Sal's last name. Linda
           25   much the inventory is valued, correct, in the        25   Lendenbriere and Maria Suarez.


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            1                K. RANDALL                                1               K. RANDALL
            2        Q. How old was Larry Callahan when he was         2        A. Yes.
            3   laid off as part of the statewide program?             3        Q. Was anyone else involved in making that
            4        A. I am going to guess he was 55. Again,          4   selection?
            5   just guessing.                                         5        A. No.
            6        Q. I don't want you to guess. If that is          6        Q. How did you select Maria?
            7   your best approximation?                               7        A. The same as I did all the individuals.
            8        A. That's my best approximation.                  8   It was a very daunting task to do. Two criteria
            9        Q. And Larry Lapenzinski what was his             9   is, one possible job performance, and but overall
           10   approximate age when he was laid off?                 10   what positions could be eliminated and were not
           11        A. Around 45.                                    11   being replaced to keep the company going.
           12        Q. How about Sal?                                12        Q. Were the payroll expenses at Southern
           13        A. Maybe 40.                                     13   higher in the end of 2018 in Syosset then they are
           14        Q. Linda?                                        14   in the beginning of 2018?
           15        A. I am going to have to guess 40 as well.       15        A. I am sure they were. As the annual
           16   I am not going to guess a woman's age. Those were     16   raises happen in November of every year for the
           17   all just guesstimates. I don't have those facts.      17   union.
           18        Q. How many employees were hired to work         18        Q. Did you receive a raise in 2018?
           19   at the Syosset facility in 2018? How many             19   Again, I don't want to know the amount but did you
           20   employees were working there that were hired in       20   receive a raise in 2018?
           21   2018?                                                 21        A. I assume so, yes, without going back, I
           22        A. I do not have the information.                22   think that's normal.
           23        Q. Do you know if it was more or less than       23        Q. Did the other managers at Southern in
           24   10?                                                   24   Syosset receive raises in 2018?
           25        A. I would say it's no more than 10. We          25        A. Management get raises in the first


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            1               K. RANDALL                                 1                K. RANDALL
            2   don't do a lot of hiring.                              2   quarter of the year. The union gets their raises
            3       Q. Who would know how many people were             3   at the end of the year, November.
            4   hired in 2018 at the Syosset facility.                 4        Q. What's the typical percentage increase
            5       A. It would have to come from the human            5   for let's say managers?
            6   resources, run a report.                               6        A. It is 3 percent is an average.
            7       Q. Would Elizabeth Toohig know that for            7        Q. So do you have any idea this was an
            8   2018?                                                  8   initiative to save money?
            9       A. She may have knowledge of it. I don't           9        A. Yes. Yes, I believe so. What else
           10   know that she has it today but she may be the one     10   could it be.
           11   that knows.                                           11        Q. Was there any instructions as to how
           12       Q. Do you know Dina Wald Margolis?                12   much money you had to save?
           13       A. I know Dina.                                   13        A. No.
           14       Q. Does she work for Southern?                    14        Q. You just had to eliminate any five
           15       A. No.                                            15   people; is that fair to say?
           16       Q. When was the last time that she worked         16        A. That was my assignment.
           17   for Southern?                                         17        Q. It could have been anyone at the
           18       A. If I started in 2017, she may have been        18   company?
           19   gone by '16 -- 2013, she may have been gone by '16.   19        A. Yes.
           20   I am just guessing. I know she went someplace         20        Q. Did you receive any other instructions
           21   else.                                                 21   other than just having to eliminate five people
           22       Q. Do you know where she went?                    22   from payroll?
           23       A. No.                                            23        A. To make sure that the department can
           24       Q. Were you involved in the decision to           24   run efficiently without these five, of course it
           25   select Maria Suarez?                                  25   had to be sent to the HR for final approvals and


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            1              K. RANDALL                                  1               K. RANDALL
            2   probably to corporate for overall evaluation.          2   Tonisha had the best qualification to understand
            3       Q. Could you have eliminated a union               3   the accounting piece of it to where this
            4   employee?                                              4   information was flowing, where Maria was best fit
            5       A. No, not a steady worker.                        5   for the inventory control counting piece where she
            6       Q. How many non-union employees were there         6   had been placed and the decision was made to make
            7   that you could select to be part of the layoff?        7   Tonisha the manager and spoke to Maria about being
            8           MS. CABRERA: Select from?                      8   the administrator.
            9           MR. MOSER: Correct.                            9       Q. When Maria was made the administrator
           10       A. Around 20, 25. Twenty-five non-union           10   was she still the manager?
           11   employees.                                            11       A. As an administrator she still
           12       Q. What was the lowest paid employee among        12   supervised people, manage, supervisor, however you
           13   the 25?                                               13   want to say it, she was still in charge of
           14       A. I do not recall.                               14   instructing employees what to count and when to
           15       Q. What was the highest paid employee             15   count it.
           16   among the 25?                                         16       Q. Did she have the authority when she
           17       A. Who was it?                                    17   became the administrator to supervise the other
           18       Q. The person that was paid the least             18   employees to tell them what to do?
           19   among the 25, how much was that person paid?          19       A. The inventory control team, yes.
           20       A. Around $60,000, again, an estimate.            20       Q. Who was in the inventory control team
           21       Q. And the person who was paid the most           21   at that time?
           22   among those 25?                                       22       A. Ena Scott, Tatiana Herdocia and, I
           23       A. Around $90,000. That's salary, not all         23   believe, Justin Vay. There could have been another
           24   in.                                                   24   one, I am not sure.
           25       Q. There is also fringe benefits,                 25       Q. Is Justin Vay still employed by


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            1               K. RANDALL                                 1               K. RANDALL
            2   retirement, those types of things?                     2   Southern?
            3        A. Yes.                                           3       A. Yes.
            4        Q. Were you involved at all in giving             4       Q. What is his job title?
            5   Maria Suarez the position of WMI administrator?        5       A. Inventory control counter.
            6        A. Yes.                                           6       Q. Ena Scott and the other cycle counters
            7        Q. Can you describe your role in that?            7   as well?
            8        A. Coming from Upstate New York, where I          8       A. Yes.
            9   had WMI experience laid out, we had an inventory       9       Q. Who do they report?
           10   control manager or inventory control administrator.   10       A. Who did they?
           11   Following that suit, when we went to the WMI, we      11       Q. Who do they report to today?
           12   posted for a manager and we posted for                12       A. Tonisha.
           13   administrator, so I would be on similar lines of      13       Q. When you decided which five to
           14   what I was use to and what Upstate New York ran.      14   eliminate how did you do that?
           15           We posted the two jobs. Maria and             15       A. Again, based on need to have the
           16   Tonisha Durant applied for the inventory control      16   business flow without five people which is not an
           17   manager and they were both inventory control          17   easy task to do. The first step was who can be
           18   managers at the time. Tonisha was inventory           18   eliminated and we can continue business the way it
           19   control manager in the accounting department in       19   was. Since John Wilkinson was in charge of the
           20   2013. Maria was inventory control manager in the      20   warehouse he could assume the responsibilities of
           21   warehouse. With WMI you don't have to have these      21   the counters without Maria. So that was one of the
           22   meetings all the time every month. As the             22   determining factors as to how that process could
           23   information flows through the scan guns and through   23   continue.
           24   the counts.                                           24       Q. Was anyone besides you involved in the
           25           After interviewing the two individuals        25   process of selecting these five?


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            1               K. RANDALL                                 1               K. RANDALL
            2       A. No.                                             2   John for that information?
            3       Q. Did you keep any records regarding how          3       A. I relied on him to help me with that
            4   you made this decision?                                4   process so I would not know that.
            5       A. No.                                             5       Q. If Maria was selected John would have
            6       Q. Did you have any emails with anyone             6   had input into that?
            7   else at Southern regarding how you made this           7       A. He would have had input as to who was
            8   decision?                                              8   going to do the job, yes.
            9       A. If I did it would have been with John           9       Q. He would have input into the selection
           10   Wilkinson, the director of operations. Obviously,     10   of her as one of the five?
           11   he had to be assuming some of this role.              11       A. Yes, he would have had input.
           12       Q. Is it fair to say that if we don't have        12       Q. Do you have any communications between
           13   any emails regarding how these people were selected   13   you and anyone regarding how these five individuals
           14   that you did not send any to John Wilkinson?          14   were selected?
           15       A. I am sure I sent something though.             15       A. Can you repeat the question?
           16   Even though I was the sole responsible person to      16       Q. Do you have any emails or were there
           17   make the selection, I would not have done that just   17   any emails between you and anyone else at Southern
           18   by myself without asking others.                      18   regarding how these five people were selected?
           19       Q. Did you rely on John's advise or input         19       A. I want to assume there had to be an
           20   in selecting Maria?                                   20   email between Ray Kohn, my direct report to and
           21       A. As in all of these people reported to          21   Beth Toohig, human resources. There had to be some
           22   John, so, yes, I would have had to had some back      22   kind of communication. What that was I can't tell
           23   and forth email or verbal.                            23   you.
           24       Q. But you're sure that there was at least        24       Q. Did Maria continue to have supervisory
           25   one email between you and John regarding the          25   authority until the time that she separated from


                                                      Page 66                                                    Page 68
            1               K. RANDALL                                 1               K. RANDALL
            2   selection of these people?                             2   employment with Southern?
            3       A. Email or verbal. You're asking me if            3       A. Yes.
            4   emailed John, I assume that I did, but he had been     4       Q. Over whom?
            5   part of the process.                                   5       A. Over the cycle counters. There is
            6       Q. How much did you rely on him in terms           6   three or four.
            7   of selecting these five?                               7       Q. Did anyone ever take away Maria's
            8       A. I relied on John to make sure that the          8   supervisory authority while she was at Southern?
            9   work could be performed without these five people,     9       A. No, how else would they get their work.
           10   since they all reported to the operations. So I       10       Q. I know this probably doesn't need to be
           11   relied on him to tell me that it could continue.      11   said, but might need to be said, we know certain
           12       Q. Did John select the five?                      12   things that are not on the record, such as that
           13       A. No.                                            13   John Wilkinson is no longer with us, he passed
           14       Q. Did you ask John -- can you tell me            14   away, correct?
           15   everything that you remember about the                15       A. Yes.
           16   conversations or emails that you had with John        16       Q. When did he die?
           17   about selecting the five?                             17       A. Around 2019/2020.
           18       A. Without seeing an email from five years        18       Q. Approximately?
           19   ago, it had to be based on performance, like I        19       A. I am guessing, approximately.
           20   said, as well as who could do the job of the          20       Q. At some point was John Wilkinson
           21   remaining people in the warehouse. Get rid of one     21   selected as part of the layoff?
           22   person who was going to be doing that job. I had      22       A. No.
           23   to be comfortable with that.                          23       Q. Was Maria Suarez an exempt employee,
           24       Q. In determining who could do the job and        24   was she paid a salary?
           25   which position could be eliminated did you rely on    25       A. Yes, she was.


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            1                 K. RANDALL                               1               K. RANDALL
            2        Q. Why was she paid a salary rather than          2       Q. Have you seen it anywhere else?
            3   hourly?                                                3       A. Not laid out like this.
            4        A. In generalization, nonunion people are         4       Q. Do you recall seeing it laid out in any
            5   hourly in our building, and everyone else being a      5   other type of fashion?
            6   management or supervisory or be able to issue work     6       A. I did not do this. I did not see it.
            7   becomes exempt.                                        7       Q. Do you know who prepared this?
            8        Q. The nonunion staff are exempt managers;        8       A. No.
            9   is that fair to say?                                   9       Q. Do you know why this was prepared?
           10        A. And supervisors.                              10       A. It looks like it's a detailed job
           11        Q. The nonunion staff are exempt managers        11   description prepared.
           12   and supervisors; is that fair to say?                 12       Q. For whom?
           13        A. Fair.                                         13       A. For what individual?
           14        Q. Did Maria Suarez have an office?              14       Q. Yes.
           15        A. She did.                                      15       A. Since we're talking about Maria Suarez,
           16        Q. Where was her office located?                 16   I'm going to assume that's it. To cycle count
           17        A. First floor of the 345 warehouse              17   every day. Maybe a way to identify her job in the
           18   building.                                             18   WMI world.
           19        Q. Did she have a chair and a computer?          19       Q. Do you believe that is accurately the
           20        A. Yes.                                          20   description of Maria Suarez' job duties as WMI
           21        Q. Did she have that office until she            21   administrator?
           22   separated from employment?                            22       A. This looks like the procedures in place
           23        A. No, I believe that she was struggling         23   to help her reconcile the books at the warehouse
           24   with some of the WMI work that was being -- had       24   level. But not a full complete detailed list, no.
           25   changed her way of working. I believe John moved      25       Q. What's missing from that?


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            1               K. RANDALL                                 1                K. RANDALL
            2   her to the blue room, we call it, because it's the     2       A. Her assigning the cycle counts to the
            3   color blue where supervisors have computers set up     3   three or four cycle counters that we have in the
            4   and you're closer to your people.                      4   warehouse and where they are assigned to daily. It
            5       Q. Do you know when he did that?                   5   says cycle count every day. It doesn't state it to
            6       A. No.                                             6   assign it to someone but that is what it would have
            7       Q. Do you know why he moved her in the             7   referred to.
            8   blue room?                                             8       Q. If she was supposed to assign someone
            9       A. I think because she needed more -- why?         9   to cycle count every single day and that person did
           10   Probably because she needed to be closer to her       10   not cycle count every single day who would be
           11   people, to help them, educate them on how to get      11   responsible for that?
           12   the job performed.                                    12       A. She would know because her counts
           13       Q. How would that get her closer to the           13   wouldn't be prepared if she couldn't do the rest of
           14   people being in the blue room?                        14   the reconcilement. Which is the reconcilement
           15       A. Because the blue room is right in the          15   report is done every day to review and fix all
           16   middle of the warehouse. Everyone is right there.     16   items.
           17   You can identify problems, talk to other people and   17       Q. Who would be responsible to do the
           18   the counters are in the warehouse most of the day.    18   cycle count every day if Maria assigned it to
           19           (Whereupon, Plaintiff's Exhibit 2             19   another employee?
           20        was marked for identification.)                  20       A. She would be.
           21       Q. Did you recognize that document?               21       Q. Maria would be responsible for that?
           22       A. I do not.                                      22       A. To have them do it.
           23       Q. Have you ever seen that document before        23       Q. Let's say the employee did not do the
           24   today?                                                24   cycle count as she requested, would Maria be
           25       A. Not like this.                                 25   responsible for that?


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            1               K. RANDALL                                 1               K. RANDALL
            2       A. She would be responsible and held               2       Q. At that time that she became inventory
            3   accountable with her direct manager.                   3   control manager you determined what her
            4       Q. Would the employee who did not do the           4   responsibilities would be, correct?
            5   cycle count be held responsible?                       5       A. They were the same as what she was in
            6       A. They should, yes, if they don't do what         6   accounting. Now, rather than meet monthly, was all
            7   she asked them to do.                                  7   rolled up into one communication from her to
            8       Q. If a manager gives a direct instruction         8   accounting.
            9   to an employee to do something and that employee       9       Q. So Tonisha Durant was doing the same
           10   blatantly refuses to do it and, therefore, it's not   10   thing in her new role as WMI inventory control
           11   done and the manager reports that to you, do you      11   manager?
           12   discipline the manager for that?                      12       A. No.
           13       A. No.                                            13       Q. How did her role change?
           14       Q. Who did you discipline?                        14       A. Her role did not change. Her role came
           15       A. If goes to HR as part of an                    15   from the accounting where she used to work and she
           16   investigation as to what the instructions were and    16   applied to this position to become the inventory
           17   did the employee refuse to do an assigned job.        17   control manager. She is the communicator between
           18       Q. So besides Maria's supervisory                 18   the accounting and the warehouse. She remained
           19   responsibilities is anything else missing from this   19   that constant.
           20   particular document and, again, I am referring to     20       Q. Did her responsibilities change at all
           21   the Plaintiff's Exhibit 2?                            21   when she became WMI inventory control manager?
           22       A. She reconciled, she ensured that               22       A. Just the way that she got the
           23   everything was put in place. That they cycle          23   information.
           24   counted every day. That she did the wave              24       Q. How did that change?
           25   management and reconciled the report each and every   25       A. It's instead of physically counting the


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            1              K. RANDALL                                  1              K. RANDALL
            2   day and fixed the items as they appeared.              2   cases, everything was done with a scan gun and fed
            3           MR. MOSER: Please read back the                3   through the system.
            4       question.                                          4        Q. Was there a redundancy for some period
            5           (Whereupon, the referred to                    5   of time meaning that you kept both systems in place
            6       question was read.)                                6   for some period of time?
            7       A. Not that I can see.                             7        A. I think there is a learning curve. Not
            8       Q. Were you responsible for drafting Maria         8   a redundancy but we stopped doing the physical
            9   Suarez' job description as a WMI administrator?        9   counts when we went to this new scan gun procedure
           10       A. No.                                            10   and how we check everything and reconcile.
           11       Q. Were you the one that WMI                      11           (Whereupon, Plaintiff's Exhibit 3
           12   administrator?                                        12        was marked for identification.)
           13       A. No.                                            13        Q. I am going to show you what has been
           14       Q. Who determined what Maria's                    14   marked as Plaintiff's Exhibit 3 and it's on the
           15   responsibilities would be as WMI administrator?       15   bottom Bates stamp SGWS 000895. I would like you
           16       A. It would be her direct supervisor, John        16   to take a movement to look at that document.
           17   Wilkinson.                                            17        A. (Witness perusing document.) Okay.
           18       Q. Who determined what Tonisha Durant's           18        Q. Have you ever seen this document before
           19   responsibilities would be as WMI inventory control    19   today?
           20   manager?                                              20        A. I am sure that I have.
           21       A. I would, she reported directly to me.          21        Q. It says here hiring manager Kevin
           22       Q. At what point did Tonisha Durant begin         22   Randall. What does that mean "hiring manager,"
           23   reporting directly to you?                            23   what does that signify?
           24       A. When she assumed the role of inventory         24        A. It signifies that everything kind of
           25   control manager in 2018 whenever it was.              25   goes through me as the vice-president of operations


                                                                                       19 (Pages 73 to 76)
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            1               K. RANDALL                                1               K. RANDALL
            2   as we're going into a new system.                     2   this job would be something that she would be
            3       Q. The history below that on the first            3   interested in. It was what she does today. It was
            4   page, can you explain what that means?                4   what she was doing.
            5       A. Just the approval process that looks           5        Q. We talked earlier about performance of
            6   like where Dina posted the position, everybody        6   job descriptions, correct?
            7   approved it, from the general manager to the HR to    7        A. Yes.
            8   my boss and to myself.                                8        Q. Did you ever present Maria with the
            9       Q. So let's go to the second page where it        9   written job description informing her what she was
           10   says January 27th of 2016. Do you see that on top,   10   suppose to do or did you just tell her?
           11   the requisition duplicated?                          11        A. My part of it was meeting with her. I
           12       A. Yup.                                          12   do not recall giving her a job description. It
           13       Q. When it says "created" they created a         13   could have happened. I don't recall. It was a few
           14   job opening?                                         14   years ago. I do recall --
           15       A. Looks like they created a duplication         15        Q. Does this document fairly and
           16   of a different job, which is probably the one that   16   accurately describe Maria's job?
           17   I had Upstate.                                       17        A. Sure. I would say so. I read through
           18       Q. Did you approve this job description?         18   it. She trains and overseas, analyses, helps
           19       A. I did.                                        19   people, trains the local staff.
           20       Q. Was this job description for Maria            20        Q. Is there anything on this document that
           21   Suarez?                                              21   is inaccurate or incorrect or does not describe
           22       A. I don't recall if we did this                 22   what Maria Suarez' job was?
           23   afterwards, no. We had to have both positions to     23        A. I don't see anything.
           24   begin with, I believe, that we had to post the       24        Q. Was she inspected to do everything that
           25   position for inventory control manager and WMI       25   was on her job description?


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            1               K. RANDALL                                1               K. RANDALL
            2   administrator at the same time.                       2       A. Yes.
            3       Q. Was Maria Suarez hired as the WMI              3       Q. Did she have the qualifications in your
            4   administrator?                                        4   mind to do everything that was on her job
            5       A. Yes, she was.                                  5   description?
            6       Q. Was she hired in that particular               6       A. Yes.
            7   position?                                             7       Q. What did you verbally explain to Maria
            8       A. She was.                                       8   regarding this job?
            9       Q. Is this job description for Maria              9       A. We have this position Upstate. It's
           10   Suarez?                                              10   required down here for WMI. I thought she would be
           11       A. For her position?                             11   a good fit for this. She knows everything to do in
           12       Q. Yes.                                          12   the warehouse setting and so I encouraged her to
           13       A. That would be what it is for, yes.            13   consider this position.
           14       Q. Did Southern present this to                  14       Q. How important was the position of WMI
           15   Ms. Suarez?                                          15   administrator?
           16       A. I do not recall how they presented it.        16       A. It's very important.
           17   I presented it personally to her. Not this           17       Q. What were the risks to Southern if the
           18   particular job itself. I talked to her about this    18   WMI administrator did not do his or her job
           19   job.                                                 19   correctly?
           20       Q. Did you present to her a job                  20       A. We're not going to go back and take the
           21   prescription?                                        21   system back, it had to be implemented, so it was up
           22       A. No.                                           22   to this person to understand the system, train the
           23       Q. You just talked to her about the job?         23   employees, train her team and what was required of
           24       A. I spoke to her about not getting the          24   them, and reconcile the inventory on the floor
           25   inventory control manager job and I thought that     25   daily, very important.


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            1               K. RANDALL                                 1                K. RANDALL
            2       Q. What would be -- what could be the              2   alongside of all of those people and her team and
            3   negative consequences to Southern if Maria did not     3   nothing in this new world was going to change.
            4   perform her job correctly as the WMI administrator?    4   That was all going to stay the same. It was just
            5       A. The inventory would have been                   5   how we reported to accounting and to corporate in
            6   upsidedown.                                            6   your results and I felt that she had a great grasp
            7       Q. That would have affected the                    7   how that reported internally and how she performed.
            8   financials?                                            8       Q. Is there any other reason that you
            9       A. Sure would.                                     9   believe that she was the best qualified person for
           10       Q. Does that affect the amount of                 10   the WMI administrator position?
           11   insurance that has to be purchased on the             11       A. I don't know what else there would be.
           12   inventory?                                            12   She wanted the other job and I felt this was a
           13       A. I don't know how that could really or          13   better fit for her.
           14   what happens to inventory if it has huge swings,      14       Q. Besides what you already mentioned is
           15   misses 100 cases today, you find it next week, you    15   there anything else that you believe made her the
           16   go back and forth. For insurance purposes or for      16   best qualified person for the WMI administrator
           17   bank purposes, it is that comfort level that we       17   position?
           18   have it under control.                                18       A. Not that I can recall.
           19       Q. It this a heavily regulated industry;          19       Q. Where was your office located?
           20   beer and wine distribution?                           20       A. My career started at 313 and a few
           21       A. Yes, on how we sell and who we sell to.        21   years afterwards I moved over to 345 to move closer
           22       Q. Are there any regulations that you're          22   to where everyone would be, I felt detached.
           23   aware of regarding how the inventory is stored?       23       Q. When did you move your office from 313
           24       A. No. Mostly on the sales side, State            24   to 345?
           25   Liquor Authority.                                     25       A. Right around the time of this WMI go


                                                      Page 82                                                    Page 84
            1               K. RANDALL                                 1              K. RANDALL
            2       Q. What would be the risk to Southern if           2   live I would say.
            3   Maria made a mistake as the WMI administrator?         3       Q. How many square feet is the warehouse
            4       A. If the cases were missing, if it came           4   again?
            5   time to sell it, it wouldn't sell in the system,       5       A. It is 375.
            6   loss of sales.                                         6       Q. Is that 375,000 square feet?
            7       Q. Does Southern hire based upon merit?            7       A. Yes.
            8       A. I think that plays a big part in it.            8       Q. Did you ever observe Maria in the
            9       Q. As the manager is it your job to                9   performance of her duties?
           10   protect to Southern's interests?                      10       A. No, I don't really go to the warehouse
           11       A. Sure.                                          11   a lot.
           12       Q. As a manager is it your job to hire the        12       Q. Who primarily observed Maria in the
           13   most qualified person for any particular job?         13   performance of her duties as WMI administrator?
           14       A. Yes.                                           14       A. John Wilkinson but during goal line we
           15       Q. In your mind as a manager do you hire          15   had many people come in and try help us to get
           16   most qualified individuals to perform any             16   organized on how to perform. Part of the people
           17   particular job?                                       17   were from other locations.
           18       A. Yes.                                           18       Q. Did you ever directly supervise Maria?
           19       Q. When you hired Maria Suarez into the           19       A. No.
           20   WMI administrator position did you believe that she   20       Q. Did you ever observe her directly in
           21   was the most qualified person to do that job?         21   the performance of her duties?
           22       A. She was.                                       22       A. In her meetings, when we sat with
           23       Q. What made her best qualified to do that        23   accounting and I could directly observe her
           24   job?                                                  24   communicating with accounting.
           25       A. She worked in the warehouse every day          25       Q. That was when she was inventory control


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            1               K. RANDALL                                 1               K. RANDALL
            2   manager, correct?                                      2        Q. Do you recall anything regarding that
            3       A. Yes.                                            3   meeting?
            4       Q. Once she became the WMI administrator           4        A. No.
            5   she was no longer involved in those monthly            5        Q. Besides relying on information from
            6   meetings?                                              6   John Wilkinson and Melissa Johnson regarding how
            7       A. There was no monthly meetings.                  7   Maria was doing in the WMI administrator position
            8       Q. Other than at the meetings that you             8   did you rely on anyone else to inform you on how
            9   attended when she was still inventory control          9   she was doing?
           10   manager, did you ever personally observe Maria        10        A. No, these tasks are pretty at hand with
           11   Suarez in performance of her duties?                  11   the warehouse. So because John was in a charge of
           12       A. I'm sure I did. I am in that warehouse         12   all the warehousing, I'd have to assume that he
           13   not a lot, but I do walkthrough that warehouse.       13   would be the one that let me know, with the
           14       Q. Do you recall anything in particular?          14   training Melissa. Did Tonisha give me some
           15       A. I recall her being in the blue room. I         15   information maybe that her books were being
           16   recall when they moved her into the blue room.        16   balanced upstairs? I don't recall if that ever
           17       Q. Do you recall anything else specific           17   happened.
           18   about that other than the fact that she was moved     18        Q. It could have been Tonisha Durant as
           19   to the blue room?                                     19   well?
           20       A. No.                                            20        A. It could have been. We're all part of
           21       Q. Did you rely on information from your          21   that inventory. I can't recall that specifically.
           22   subordinates to determine how Marie was doing?        22        Q. Did Tonisha Durant report directly to
           23       A. Sure.                                          23   you?
           24       Q. Who did you rely on?                           24        A. Yes.
           25       A. John Wilkinson for one and then we had         25        Q. Did John Wilkinson report directly to


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            1                 K. RANDALL                               1                K. RANDALL
            2   people from our Upstate New York location come down    2   you?
            3   here and help train her and I relied on that           3       A. Yes.
            4   feedback on how she was doing.                         4       Q. Did Maria Suarez report directly to
            5        Q. Who from upstate did you rely on in?           5   you?
            6        A. Melissa Johnson, I believe that her            6       A. No.
            7   name is. I think that she got married.                 7       Q. How many supervisors conduct a
            8        Q. Did you rely on anyone else's input in         8   performance evaluation?
            9   regard to how Maria was doing?                         9       A. Fifteen or 20 that we have.
           10        A. I am sure there was others from other         10       Q. But for any given employee is there
           11   sites. I am not sure of their names now. To           11   performance evaluation done by their supervisor?
           12   instruct her the two main people were John and        12       A. Manager, yes.
           13   Melissa.                                              13       Q. So Maria didn't have a supervisor.
           14        Q. Were you ever present when John or            14   Maria had a manager, correct?
           15   Melissa gave training to Maria?                       15       A. Yes.
           16        A. Maybe, I don't recall it. I don't get         16       Q. The manager was John Wilkinson; is that
           17   it at that level, so I don't really know.             17   fair to say?
           18        Q. Were you ever present at any meeting in       18       A. Correct.
           19   which Maria was reprimanded or disciplined?           19       Q. Did Maria have more than one
           20        A. I'm going to say that I probably was.         20   supervisor?
           21   I know they put her on PIP which is a Performance     21       A. No.
           22   Improvement Plan. I would have to assume and,         22       Q. Whose direction was she required to
           23   again, it's five years ago, I have to assume that     23   follow?
           24   probably at some point that was in my presence        24       A. John's.
           25   during that PIP.                                      25       Q. Was she required to follow anyone


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            1                K. RANDALL                                1               K. RANDALL
            2   else's instructions other than John?                   2       Q. You gave her the authority over the
            3       A. No, not directly. But indirectly I              3   inventory control clerk?
            4   suppose if someone was trying to train her.            4       A. Yes.
            5       Q. Would John determine who was training           5       Q. Did John Wilkinson have the authority
            6   her or you?                                            6   to change that and take away her supervisory
            7       A. John. Maybe my input. Obviously John            7   responsibility?
            8   didn't know how to do this system either. It was       8       A. Did he have the authority to? I would
            9   new to everyone. We needed outside information to      9   have to guess he had the authority. I would have
           10   come in. There was no expert in it.                   10   to guess he would have to ask me first but the
           11       Q. Do you recall any information that             11   authority is she was his direct report.
           12   either John Wilkinson gave you about Maria Suarez     12       Q. When her supervisor authority changed
           13   and how she was performing her duties as the WMI      13   would that have been reflected in the job
           14   administrator?                                        14   description?
           15       A. I am sure that emailed me and said is          15       A. It would have been passed by me first.
           16   that she was failing in certain areas, I'm sure.      16       Q. Did anyone ever ask you about taking
           17       Q. Do you have any specific recollection          17   away Maria Suarez' supervisory authority?
           18   of what he was telling you?                           18       A. No. I wouldn't let that happen. It's
           19       A. Not what it was but I do believe that          19   part of what I needed her to do.
           20   probably lead her to the PIP plan, the Performance    20       Q. If John Wilkinson had taken away her
           21   Improvement Plan. Let's put her on a plan to see      21   supervisory authority what would you say to him?
           22   if we can right the ship.                             22       A. I would ask him why, there has to be a
           23       Q. Did John Wilkinson ever talk to you            23   reason.
           24   about Maria Suarez, I am not talking to you about     24       Q. Would you ask him why he didn't get
           25   an email somewhere, did he ever talk to you about     25   your approval?


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            1               K. RANDALL                                 1                K. RANDALL
            2   Maria Suarez and how she was doing as the WMI          2       A. That would have been the next stop too.
            3   administrator?                                         3   That's another conversation.
            4       A. I am sure that he did.                          4       Q. Do you know whether John and Maria's
            5       Q. Do you recall any of those                      5   relationship changed at all over the years?
            6   conversations?                                         6       A. I always thought that they got along
            7       A. Maybe she was being difficult at times          7   very well is what I always thought from perception.
            8   in learning or absorbing what was being taught to      8   I know during WMI the learning curve was tough.
            9   her. I don't recall the exact conversation.            9   Everybody was trying to grasp the system. I always
           10       Q. How about Melissa Johnson, did Melissa         10   thought they got along very well for a working
           11   Johnson ever talk to you about Maria Suarez'          11   relationship. He was very supportive of her.
           12   performance and I am not talking about in an email,   12       Q. You would say that John Wilkinson was
           13   I'm talking about verbally did Melissa Johnson talk   13   very supportive of Maria?
           14   to you?                                               14       A. Yeah, he tried to help.
           15       A. I'm sure that she did.                         15           (Whereupon, Plaintiff's Exhibit 4
           16       Q. Do you recall anything that she said?          16        was marked for identification.)
           17       A. She was getting road blocks along the          17       Q. Plaintiff's Exhibit 4 for
           18   way and I believe that she also emailed that to me.   18   identification, Cycle Counting Daily Procedure. I
           19       Q. Did John Wilkinson have the authority          19   am showing you document that has been marked as
           20   to take away Maria Suarez' supervisory authority      20   Plaintiff's Exhibit 4, bearing Bates stamp SGWS 00
           21   over the inventory control clerk?                     21   1447, it is a two-page document. Have you ever
           22       A. I guess he would.                              22   seen that before?
           23       Q. You created her job description,               23       A. (Witness perusing document.) Not that
           24   correct?                                              24   I can recall.
           25       A. Right.                                         25       Q. Do you know what this is?


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                                                      Page 93                                                    Page 95
            1                K. RANDALL                                1                K. RANDALL
            2       A. John put this together. A daily                 2   Sapphire?
            3   procedure to get the counts down to try to organize    3        A. The Sapphire-based system.
            4   the department.                                        4        Q. To WMI?
            5       Q. Do you know who this was intended for?          5        A. Correct, yes.
            6       A. My guess is for Maria and her whole             6        Q. Part of her job was to help with the
            7   team. Since they are the only ones in there, that      7   transition; is that fair to say?
            8   would be a good assumption.                            8        A. Get us up and running, yes.
            9       Q. If John required Maria to be on the             9        Q. What were the project objectives, when
           10   floor at the warehouse cycle counting do you          10   it says here it talks about her function is to
           11   believe that that would have been part of her job     11   achieve project objectives. What were the project
           12   responsibilities and something that she should have   12   objectives?
           13   been doing?                                           13        A. The project itself was WMI
           14       A. No.                                            14   implementation. To achieve that was to train not
           15       Q. If John was reprimanding her for not           15   just her team, all the players in the warehouse in
           16   cycle counting correctly is that something that you   16   how to perform their job duties with scanning and
           17   would approve of?                                     17   putting and picking to make sure that the inventory
           18       A. No. He would be referring to her               18   control was valid. That was really the training
           19   people counting.                                      19   situation on how the system works.
           20       Q. Maria was laid off as part of that             20        Q. That's also implementation, correct?
           21   Statewide Cost Savings Program, correct?              21        A. Yes.
           22       A. Yes.                                           22        Q. Regardless of all the duties that she
           23       Q. Until she was laid off did you consider        23   had regarding implementation her job was still
           24   her position to be an essential part of your team     24   intended to be permanent even after it was
           25   in your structure?                                    25   implemented?


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            1                K. RANDALL                                1                 K. RANDALL
            2       A. I had a WMI administrator at Upstate,           2        A. Sure, that was in my mindset. Training
            3   so, yes, I felt that was a structure that was          3   never goes away.
            4   needed to introduce WMI in Metro New York.             4        Q. If you could turn to the page that
            5       Q. I am going to ask you to turn to the            5   starts, strategy 50 percent. It says here her job
            6   job description again, which is -- I would like you    6   is to participate in operational initiatives as
            7   to turn to the description and I'll read it into       7   necessary. Do you know what that means?
            8   the record. "The administrator will act as a           8        A. No, I don't really know exactly. I am
            9   functional resource for supporting Southern Wines      9   going to guess that this means if we have the
           10   Manhattan software WMI series. The candidate will     10   initiative to do something within the system she
           11   assist to configure, operate, train, oversee and      11   would participate within that initiative to strive
           12   analyze our WMI and operations functions to achieve   12   a certain outcome.
           13   project objectives, to ensure smooth start up, and    13        Q. So let's go to, if you go down to the
           14   transition by providing leadership and training to    14   results, and the metrics position will be measured
           15   the local staff. Southern Wine corporate will         15   against it. It is halfway down the page on SGWS
           16   drive the WM application process."                    16   0008 98. These were the measures upon which her
           17            Was this position intended to be help        17   success would be determined?
           18   in the transition or was this position intended to    18        A. If that's what the job description
           19   be permanent?                                         19   says, yes.
           20       A. I always had it permanently Upstate. I         20        Q. So she would be -- her job performance
           21   always had the two positions Upstate.                 21   would be measured against the quality of
           22       Q. You put in here the person's job to            22   development of application solutions with adherence
           23   ensure smooth start up and transition, correct?       23   to the budget and schedules. Was that ever
           24       A. That's what it says, correct.                  24   explained to her what that means?
           25       Q. That's a transition from, was it               25        A. Probably not.


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            1                K. RANDALL                                 1              K. RANDALL
            2        Q. How about accomplishment of planned             2       A. I would have to say, yes. She had to
            3    objective, was that ever explained to her what that    3   run reports out of the system so I would have to
            4    means?                                                 4   assume so. Did I know that she did, no.
            5        A. The objective here was to get us up and         5       Q. What is SQL?
            6    running and do it in an efficient manner.              6       A. Send out a report if you want to do a
            7        Q. "Ability to create and implement                7   query and submit information and pull it into our
            8    solutions in business needs which results in the       8   system.
            9    desired business results in lowest cost of             9       Q. It says here "domestic travel only."
           10    ownership overtime." Was that ever explained to       10   What kind of domestic travel did she do?
           11    her?                                                  11       A. The most that she would have ever done
           12        A. Probably not.                                  12   would be domestic going to other sites, be it
           13        Q. How about "compliance to the                   13   Upstate or New Jersey or Maryland, as some of our
           14    development standards and processes." Was that        14   people do from time to time. It states here "State
           15    ever explained to her what that means?                15   of New York, New Jersey primarily."
           16        A. I wouldn't have been the one to do             16       Q. Now once you terminated Maria, who took
           17    that. I think all of these was what she was doing     17   over her job duties?
           18    before for the most part.                             18       A. I believe it would have been one of the
           19        Q. All of this was on her prior job               19   managers on the floor, I'm assuming. I'm going to
           20    application?                                          20   guess Barry Finkelstein probably took some lead
           21        A. I think for the most part this was what        21   from John. He worked for John.
           22    she was doing.                                        22       Q. Did Barry have a full-time job before?
           23        Q. How about "effective rationalization of        23       A. He was the day manager of the
           24    applications linked to the overall Southern           24   warehouse.
           25    rationalization standardization approach"?            25       Q. Do you know whether Barry Finkelstein


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            1                K. RANDALL                                 1              K. RANDALL
            2       A. Probably not to those details. Yes, it           2   took over Maria's responsibilities?
            3   says corporate does a lot of this application           3       A. I believe that he did.
            4   process, it was done by corporate.                      4       Q. Who took over Barry Finkelstein's
            5       Q. Let's go down to the educational                 5   responsibilities or he did his responsibilities and
            6   requirements. Did Maria have a bachelor's degree?       6   Maria's responsibilities?
            7       A. I don't know that.                               7       A. He did.
            8       Q. Did she have a graduate degree?                  8       Q. Did he receive an increase in
            9       A. I do not know that.                              9   compensation?
           10       Q. Did she have three plus years                   10       A. No.
           11   experience with AS 400 systems RPGLE CLLE AS 400 a     11       Q. So he was doing the work of two people
           12   Query plus?                                            12   but he did not get any increase in salary?
           13       A. Yes.                                            13       A. Good employee.
           14       Q. How do you know that she had that               14       Q. Did he have to work more hours to get
           15   knowledge?                                             15   both of these jobs done?
           16       A. AS 400 is what we use, not all of that          16       A. I wouldn't have known that. I don't
           17   but it is the system we use.                           17   know The counters that he was overseeing at the
           18       Q. When you say AS 400 what does that              18   time. They work from eight to five, so he couldn't
           19   stand for?                                             19   have worked after hours for that. We have a
           20       A. It's the system. I don't know. But AS           20   mid-shift manager and a night manager. He kind of
           21   400 is part of our SAP versus our system of how we     21   oversaw the whole process.
           22   input everything in. She had done this for years.      22       Q. And before he oversaw the cycle
           23       Q. How about if we turn to page, the next          23   counters Maria was overseeing the cycle counters?
           24   page, which would be SCWS 899. Did she have            24       A. Yes, giving them their work.
           25   advanced understanding of SQL?                         25       Q. Maria was, like other supervisors or


                                                                                      25 (Pages 97 to 100)
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                                                    Page 101                                                  Page 103
            1               K. RANDALL                                1               K. RANDALL
            2   managers, was exempt because she supervised other     2       A. I don't, no idea. He didn't discuss
            3   employees; is that fair to say?                       3   that with me.
            4       A. It's fair. She didn't move cases, that         4       Q. Do you know if that was an unpleasant
            5   would be a union job.                                 5   experience for him?
            6       Q. Were there any hourly employees who            6       A. I have no idea.
            7   were not union employees?                             7       Q. Do you know if his experience in that
            8       A. I think that's pretty forbidden. I am          8   deposition affected his opinion or relationship
            9   going to answer no. I think the union would say no    9   with Maria?
           10   to that.                                             10       A. No idea.
           11       Q. If Maria was doing the work of the            11       Q. Who would know that?
           12   cycle counter, would she be entitled to union        12       A. John. He never discussed that whole
           13   protection?                                          13   case with me.
           14       A. If she was a cycle counter but they           14       Q. There is a computer system in effect at
           15   would have stopped her if she wasn't. The            15   Southern, correct?
           16   warehouse person would have said that's my job.      16       A. Yes.
           17       Q. Let's assume for example this is just         17       Q. Does each user have unique ID that they
           18   hypothetical that Maria was doing the work of the    18   use to log into the system?
           19   cycle counter. In your mind would she be entitled    19       A. They should, yes.
           20   to union protection?                                 20       Q. The purpose of that is security,
           21       A. She would have had to join the union to       21   correct?
           22   get that protection. Her job would have had to       22       A. The tracking, security, accountability.
           23   change.                                              23       Q. Is it fair to say that if Maria was
           24       Q. She would have been prohibited from           24   working and she was using a computer to do her job
           25   doing the cycle counting by the collective           25   that there would be at least at that time a record


                                                    Page 102                                                  Page 104
            1                K. RANDALL                               1                K. RANDALL
            2   bargaining agreement?                                 2   of the time that she was working?
            3        A. The union stewards if they catch you,         3       A. Working? Yes, she has to log in the
            4   protect their own work.                               4   same as I would do.
            5        Q. Was Marcia prohibited from doing the          5       Q. You log in at the beginning of your
            6   work of a cycle counter by a collective bargaining    6   day?
            7   agreement?                                            7       A. Or whenever you use that computer.
            8        A. Yes.                                          8       Q. So whenever using a computer you have
            9        Q. So if John Wilkinson had instructed her       9   to log in?
           10   to do the work of a cycle counter he would have      10       A. Yes.
           11   been instructing her to effectively violate the      11       Q. So there would have been a record at
           12   collective bargaining agreement?                     12   least at that time when Maria was logged into the
           13        A. Yes. If he got caught.                       13   computer?
           14        Q. Whether he gets caught is one thing          14       A. Yes.
           15   whether he did it is another. He would be            15       Q. Did Southern have any time records for
           16   violating it regardless of whether he got caught.    16   Maria?
           17        A. True.                                        17       A. I have no idea. Southern being anyone
           18        Q. Did you ever review John Wilkinson's         18   at Southern.
           19   testimony in the Josie Sajous matter?                19       Q. How long -- do you know how long
           20        A. No, I don't believe that I have ever         20   Southern keeps those records of electronic log-ins
           21   seen that. I can be wrong but I don't believe that   21   to the computer retention?
           22   I have ever seen the whole case. I don't even know   22       A. No.
           23   exactly what it was about.                           23       Q. Who would know that?
           24        Q. Do you know if he was comfortable            24       A. Maybe someone in corporate could tell
           25   during that deposition?                              25   us if they retain that information and materials, I


                                                                                 26 (Pages 101 to 104)
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            1              K. RANDALL                               1                 K. RANDALL
            2   don't know.                                         2
                                                                    3             EXHIBITS                        PAGE
            3       Q. In your mind what was Maria Suarez'          4
            4   biggest weakness?                                       Plaintiff's Exhibit 1
            5       A. I think the inability to learn the new       5
                                                                        Interrogatories............................50
            6   system or to be open to the system and taking       6
            7   feedback of those who knew it.                          Plaintiff's Exhibit 2
            8       Q. That opinion is based upon the               7
                                                                        Job description............................70
            9   information on feedback that you got from John      8
           10   Wilkinson and Melissa Johnson, correct?                 Plaintiff's Exhibit 3
           11       A. Yes.                                         9
                                                                        Job posting................................76
           12       Q. Is that opinion based upon anything else?   10
           13       A. No.                                              Plaintiff's Exhibit 4
           14       Q. If John Wilkinson had it out for Maria      11
                                                                        Cycle Counting Daily Procedure.............92
           15   would there be any way for you to know?            12
           16       A. No.                                         13              RULINGS
           17           MR. MOSER: I have no further questions.    14             PAGE   LINE
                                                                   15             10   4
           18           (Time Noted: 1:17 p.m.)                    16
           19        ______________________________.               17
           20           Kevin Randall                              18
                                                                   19
           21    Subscribed and sworn to
                                                                   20
           22    Before me this _____day                           21
           23    ________________, 2022.                           22
           24    ____________________________                      23
                                                                   24
           25       NOTARY PUBLIC                                  25


                                                  Page 106                                                               Page 108
            1            K. RANDALL                                 1               K. RANDALL
            2             INDEX                                     2              CERTIFICATE
            3       EXAMINATION BY                      PAGE        3    State of New York)
            4       MR. MOSER                      4                4    County of Nassau)
            5                                                       5        I, Camille Dandola, a Shorthand Reporter
            6                                                       6    and Notary Public of the State of New York, do
            7                                                       7    herby certify:
            8                                                       8
            9                                                       9        That, Kevin Randall, the witness whose
           10                                                      10    examination is hereinbefore set forth, was
           11                                                      11    duly sworn, and that such examination is a
           12                                                      12    true record of the testimony given by such
           13                                                      13    witness.
           14                                                      14
           15                                                      15       I further certify that I am not related
           16                                                      16    to any of the parties to this action by blood
           17                                                      17    or marriage; and that I am in no way
           18                                                      18    interested in the outcome of this matter.
           19                                                      19
           20                                                      20               _______________________________
           21                                                      21                   Camille Dandola
           22                                                      22
           23                                                      23
           24                                                      24
           25                                                      25


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                                                        Page 109
            1   ERRATA SHEET FOR: KEVIN RANDALL
                  KEVIN RANDALL, being duly sworn, deposes and
            2     says: I have reviewed the transcript of my
                  proceeding taken on 10/03/2022. The following
            3     changes are necessary to correct my testimony.
            4   ______________________________________________
            5   PAGE LINE CHANGE                             REASON
            6   ----|----|---------------------|--------------
            7   ----|----|---------------------|--------------
            8   ----|----|---------------------|--------------
            9   ----|----|---------------------|--------------
           10   ----|----|---------------------|--------------
           11   ----|----|---------------------|--------------
           12   ----|----|---------------------|--------------
           13   ----|----|---------------------|--------------
           14   ----|----|---------------------|--------------
           15   ----|----|---------------------|--------------
           16   ----|----|---------------------|--------------
           17   ----|----|---------------------|--------------
           18   ----|----|---------------------|--------------
           19   ----|----|---------------------|--------------
           20   ----|----|---------------------|--------------
           21   ----|----|---------------------|--------------
           22   ----|----|---------------------|--------------
           23         Witness Signature:_____________________
                Subscribed and sworn to, before me
           24   this ___ day of __________, 20 ___.
                ____________________ ___________________
           25   (NOTARY PUBLIC)                    MY COMMISSION EXPIRES




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